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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                              CASE NO.:

 FRANCISCO J. DE POMBO, and all others
 similarly situated under 29 U.S.C. § 216(b),

    Plaintiffs,

        vs.

 IRINOX NORTH AMERICA, INC. and
 JOHN HORVATH, an individual,

    Defendants.
 _____________________________________/


                                              COMPLAINT

    Plaintiff, FRANCISCO J. DE POMBO, on behalf of himself and all others similarly

 situated under 29 U.S.C. § 216(b), through undersigned counsel, files this Complaint against

 Defendants IRINOX NORTH AMERICA, INC. and JOHN HORVATH, and alleges:

                                  JURISDICTION AND VENUE

    1. This is an action arising under the Fair Labor Standards Act 29 U.S.C. §§ 201-216. This

 Court has jurisdiction under 29 U.S.C. § 216(B). This case involves damages in excess of

 $15,000 exclusive of attorney’s fees and costs.

    2. The Plaintiff FRANCISCO J. DE POMBO was a resident of Miami-Dade County,

 Florida at the time the dispute arose and is sui juris.

    3. The Defendant IRINOX NORTH AMERICA, INC., regularly transacts business in

 Miami-Dade County. The Defendant Corporation was the Plaintiff’s FLSA employer during

 Plaintiff’s relevant period of employment (“the relevant time period”).



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    4. The Defendant JOHN HORVATH is t h e N a t i on a l S e r v i c e M anager of the

 Defendant Corporation who ran the day-to-day operations of the Corporate Defendant for the

 relevant time period and was responsible for paying Plaintiff’s wages for the relevant time

 period and controlled Plaintiff’s work and schedule and was, therefore, Plaintiff’s

 employer as defined by 29 U.S.C. § 203(d).

     5. Venue is proper in this Court because Plaintiff was a resident of Miami-Dade County,

 Florida, at the time the dispute arose, the Defendants do business in Miami-Dade, Florida, and

 the events giving rise to these claims occurred within Miami-Dade County, Florida.

     6. Plaintiff FRANCISCO J. DE POMBO worked for Defendants as a parts and service

 representative to different locations throughout North America from on or about January 15,

 2018 to on or about December 9, 2019 for at least 57.5 hours per week every week.

     7. The acts and/or omissions giving rise to this Complaint arose in Miami-Dade County.


                   COUNT I. FEDERAL OVERTIME WAGE VIOLATION

     8. Plaintiff re-alleges the factual and jurisdictional statements in paragraphs 1 through 7 as

 though fully set forth herein.

     9. This action arises under the laws of the United States. This case is brought as a

 collective action under 29 U.S.C. § 216(b). It is believed that the Defendants have employed

 several other similarly situated employees like Plaintiff who have not been paid overtime wages

 for work performed in excess of 40 hours weekly from the filing of this Complaint back three

 years.

     10. 29 U.S.C. § 207 (a) (1) states, "Except as otherwise provided in this section, no

 employer shall employ any of his employees who in any workweek is engaged in commerce or

 in the production of goods for commerce, or is employed in an enterprise engaged in commerce

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 or in the production of goods for commerce, for a workweek longer than forty hours unless such

 employee receives compensation for his employment in excess of the hours above specified at a

 rate not less than one and one-half times the regular rate at which he is employed.”

     11. Plaintiff de Pombo worked for Defendants as a parts and service representative of blast

 chillers that were manufactured in Italy and sold in the United States.

     12. Plaintiff’s job duties required of him by Defendants included shipping from Miami-

 Dade to customers throughout North America, ordering and receiving products and parts from

 Italy, and answering technical assistance telephone calls from customers across North America.

     13. Defendants’ business activities involve those to which the Fair Labor Standards Act

 applies. Both the Defendants’ business and the Plaintiff’s work for the Defendants affected

 interstate commerce for the relevant time period. Plaintiff’s work for the Defendants affected

 interstate commerce for the relevant time period because the materials and goods Plaintiff sold

 and serviced on a constant and/or continual basis moved through interstate commerce prior to

 and/or subsequent to Plaintiff’s sales and servicing of the same. The Plaintiff’s work for the

 Defendants was actually in and/or so closely related to the movement of commerce while he

 worked for the Defendants that the Fair Labor Standards Act applies to Plaintiff’s work for the

 Defendants.

    14. Additionally, Defendants regularly employed two or more employees for the relevant

 time period who handled goods or materials that travelled through interstate commerce, or used

 instrumentalities of interstate commerce as Plaintiff did; thus, making Defendants’ business an

 enterprise covered under the Fair Labor Standards Act.

    15. The Defendant Corporation had gross sales or business done in excess of $500,000

 annually for the years 2018 and 2019.



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     16. Throughout his employment with Defendants, Plaintiff worked at least 57.5 hours per

 week. However, as stated in his pay stubs, Plaintiff was paid for only 40 hours per week. When

 40 hours are divided into his weekly pay, Plaintiff was paid $28.85 per hour. Therefore,

 Plaintiff’s overtime rate should have been $43.28.

     17. The Plaintiff was not paid for any hours over 40 hours per week, so he is owed time-and-

 a-half for all hours he worked over forty each week, as required by the Fair Labor Standards Act.

 Plaintiff, therefore, claims the time-and-a-half overtime rate for each hour he worked above 40 in

 a week.

     18. Plaintiff’s claim is for 17.5 hours per week for 99 weeks at a rate of $43.28 per hour, for

 a total of $74,982.60. Additionally, Plaintiff claims entitlement to liquidated damages under the

 FLSA, for a total of $149,965.20. Moreover, Plaintiff is entitled to his attorneys’ fees and costs

 for this case.1

     19. Defendants willfully and intentionally refused to pay Plaintiff’s overtime wages as

 required by the Fair Labor Standards Act as Defendants knew of the overtime requirements of

 the Fair Labor Standards Act and recklessly failed to investigate whether Defendants’ payroll

 practices were in accordance with the Fair Labor Standards Act. Defendants remain owing

 Plaintiff these wages since the commencement of Plaintiff’s employment with Defendants

 through Plaintiff’s termination date of December 9, 2019.

          WHEREFORE, Plaintiff requests liquidated damages and reasonable attorney fees from

 Defendants, jointly and severally, under the Fair Labor Standards Act (FLSA) to be proven at the

 time of trial for all overtime wages still owing from Plaintiff’s entire employment period with

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  Plaintiff and Defendants signed something called an “Employee Separation and Release Agreement,” at the end of
 Plaintiff’s employment. However, this document does not release Plaintiff’s claims under the FLSA. Even if the
 document did include a release for Plaintiff’s claims under the FLSA, it was not approved by the Court, so it is not a
 binding agreement under Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir. 1982), as to Plaintiff’s
 FLSA claims.

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 Defendants or as much as allowed by the Fair Labor Standards Act along with court costs,

 interest, and any other relief that this Court finds reasonable under the circumstances. The

 Plaintiff requests a trial by jury.

                                             Respectfully submitted this 5th day of February, 2020,

                                                      J. H. ZIDELL, P.A.
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                                                      By: __/s/ Lisa Kuhlman_______
                                                         LISA KUHLMAN
                                                         Florida Bar No.: 0978027




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